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                                                         [DO NOT PUBLISH]



             IN THE UNITED STATES COURT OF APPEALS

                     FOR THE ELEVENTH CIRCUIT
                       ________________________

                             No. 13-13523
                         Non-Argument Calendar
                       ________________________

                 D.C. Docket No. 7:12-cr-00036-HL-TQL-1



UNITED STATES OF AMERICA,

                                                               Plaintiff-Appellee,

                               versus

BACARI MCCARTHREN,

                                                         Defendant-Appellant.

                       ________________________

                Appeal from the United States District Court
                    for the Middle District of Georgia
                      ________________________

                           (September 26, 2014)

Before MARTIN, HILL and FAY, Circuit Judges.

PER CURIAM:
      Case 7:12-cr-00036-HL-CHW Document 81 Filed 09/26/14 Page 2 of 2
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      Rick Collum, appointed counsel for Bacari McCarthren, has moved to

withdraw from further representation of the appellant and filed a brief pursuant to

Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967). Our

independent review of the entire record reveals that counsel’s assessment of the

relative merit of the appeal is correct. Because independent examination of the

entire record reveals no arguable issues of merit, counsel’s motion is GRANTED,

and McCarthren’s conviction and sentence are AFFIRMED.




                                         2
